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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


PAMELA DIANE STARK,                                 )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  )       Case No. 2:19-cv-02396-JTF-tmp
                                                    )
CITY OF MEMPHIS and                                 )
JOE STARK,                                          )
                                                    )
       Defendants.                                  )


                                   ORDER OF DISMISSAL


       Before the Court is the Parties’ Joint Stipulation of Dismissal with Prejudice, pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(i), filed on December 2, 2022. (ECF No. 147.) The parties advise that

all matters before the Court have now been resolved. (Id.) The Court, being duly advised, finds

that this action is DISMISSED in its entirety with prejudice. Accordingly, each party shall bear

their own attorneys’ fees and costs.

       IT IS SO ORDERED this 5th day of December, 2022.

                                                    s/John T. Fowlkes, Jr.
                                                    JOHN T. FOWLKES, JR.
                                                    UNITED STATES DISTRICT JUDGE
